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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF RHODE ISLAND

                                              IN ADMIRALTY

 ------------------------------------------------------------X
 PRIME MARINA EAST GREENWICH
 HOLDINGS, LLC d/b/a PRIME MARINA EAST
 GREENWICH
                                                                 C.A. No.: 1:21-cv-_____________
                                    Plaintiff,

         -against-

 JUST ANOTHER ADVENTURE, a 1983 36-
 foot Sea Ray motor yacht (Official # 669093),
 its engines, generators, electronics, tackle,
 tender, contents, bunkers, appurtenances, etc.,
 in rem,

                                     Defendants.
 ------------------------------------------------------------X

                                         VERIFIED COMPLAINT

        Plaintiff PRIME MARINA EAST GREENWICH HOLDINGS, LLC d/b/a PRIME

MARINA EAST GREENWICH, by and through its undersigned counsel, hereby files this

Verified Complaint against JUST ANOTHER ADVENTURE, a 1983 36-foot Sea Ray

motor yacht (Official # 669093), its engines, generators, electronics, tackle, tender,

contents, bunkers, appurtenances, etc., in rem, (collectively "Vessel") alleging in

support thereof as follows:
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                                    INTRODUCTION

1.         A person representing themselves to be the owner of an older, fiberglass

recreational powerboat delivered the vessel to the Plaintiff’s marina with the

understanding it would be docked and stored at the marina in exchange for payment of

the Plaintiff’s usual rates. Thereafter and despite demand, the vessel has remained at

the marina without anyone paying any monies for its storage. This lawsuit is a lawsuit

of last resort.




                     Image # 1 depicting vessel at Plaintiff’s marina

2.         Among other things, this lawsuit seeks to foreclose a maritime lien in

accordance with Rule C of the Supplemental Rules for certain admiralty and maritime

claims and the Rules of the United States District Court for the District of Rhode Island.

                                JURISDICTION & VENUE

3.         This is a case within the Court’s admiralty and maritime jurisdiction pursuant

to 28 U.S.C. § 1331 and 28 U.S.C. § 1333 and 46 U.S.C. § 31301 et seq., and is an



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admiralty or maritime action within the meaning of Rule 9(h) of the Federal Rules of Civil

Procedure and Rule C of the Supplemental Rules for Certain Admiralty and Maritime

Claims.

4.        The Court has federal question jurisdiction over the federal statutory maritime

foreclosure claim against the Defendant Vessel pursuant to Title 46 U.S.C. § 31342(a)

of the Commercial Instruments and Maritime Liens Act.

5.        To the extent this Court is required to make a declaratory judgment

concerning the priority of competing maritime and non-maritime liens, the Court has

subject matter jurisdiction to do so under Title 28 U.S.C. §§ 2201 and 2202; Title 46

U.S.C. § 31301 et. seq.; and Title 28 U.S.C. § 1333.

6.        Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) - (3) as well as under the

special venue considerations applicable to admiralty actions because the Vessel is

located in Kent County, Rhode Island; the services, utilities and storage were provided

(and are continuing to be provided) to the Defendant Vessel in Kent County, Rhode

Island and most of the witnesses are located within the Court's jurisdiction.

                                        PARTIES

7.        Plaintiff PRIME MARINA EAST GREENWICH HOLDINGS, LLC d/b/a PRIME

MARINA EAST GREENWICH (hereinafter “Prime Marina”) is a business entity

organized and existing under the laws of the State of Rhode Island with its principal

place of business located in Miami-Dade County, Florida.

8.        At all times material hereto, Prime Marina was registered to do business in

the State of Rhode Island.




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9.         Prime Marina operates a vessel repair, storage and marina facility in East

Greenwich, Kent County, Rhode Island.

10.        In rem Defendant JUST ANOTHER ADVENTURE is an approximately 36-foot

motor yacht of fiberglass construction manufactured by Sea Ray Boats, Inc. in Florida in

1983 (hereinafter "Vessel").

11.        The Vessel is currently located and will be located, during the pendency of

process herein, within the District of Rhode Island and within the jurisdiction of the

Court.

                         FACTS COMMON TO ALL ALLEGATIONS

12.        In or around November 2018, the Vessel was transported to Prime Marina’s

East Greenwich, Rhode Island facility.

13.        Prime Marina provided services to the Vessel consisting of moorage, dockage

and utilities (hereinafter collectively referred to as "Services") all at its facility in East

Greenwich, Rhode Island on the orders of the Vessel's owner and/or beneficial owner

and/or persons authorized by the owner and/or by persons presumed to have authority

to procure necessaries under 46 U.S.C. § 31341.

14.        As near as can now be calculated, there is an outstanding balance due Prime

Marina in the amount of $12,813.20 (with additional amounts accruing), which is a lien

against the vessel.

15.        Prime Marina demanded payment for the Services it provided, but no

payment has been forthcoming.




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16.        The Services Prime Marina provided (and continues to provide) to the Vessel

are "necessaries" as that term is defined by 46 U.S.C. § 31301, et seq. and as that term

is understood by the General Maritime Law.

17.        If a valid preferred ship mortgage exists against the Vessel, then Prime

Marina alleges the mortgage is subordinate to Prime Marina's maritime lien by reason

of, among other reasons, equity.

18.        Prime Marina is entitled to recover the full amount of its maritime necessaries

lien ($12,813.20 plus any accrued amounts) before subordinate liens, if any. See

Invoices attached as Exhibit “A”.

19.        Prime Marina is entitled to credit bid up to the full amount of its in rem

judgment at a Court ordered Marshal's sale of the Vessel.

20.        If a third-party purchases the Vessel at the Court ordered Marshal's sale,

Prime Marina is entitled to recover the full amount of its judgment from the Vessel's sale

proceeds before lower ranking liens are paid.

21.        The continued storage of the Vessel at Prime Marina's facility prevents Prime

Marina from storing other vessel(s) in the space utilized by the Vessel causing it to lose

revenue.

22.        All prerequisites to the maintenance of this action have been waived,

performed or complied with.

                                       COUNT ONE

      (Foreclosure of a Maritime Lien for Necessaries – In Rem Defendant Vessel)

23.        Plaintiff adopts and realleges the allegations in all of the above paragraphs

and further states:




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24.          Prime Marina provided Services to the Vessel with, upon information and

belief, the full knowledge and consent of the Vessel's owner and/or beneficial owner

and/or persons authorized by the owner and/or by persons presumed to have authority

which Services benefit the Vessel.

25.          Although demanded, charges in the amount of approximately $12,813.20

have not been paid and additional charges continue to accrue and Prime Marina

reserves its right to add to this amount any charges incurred up through the time of

judgment.

26.          The Services Prime Marina provided and continues to provide to the Vessel

constitute a maritime lien for necessaries under the General Maritime Law, 46 U.S.C. §

31341, et seq., and give rise to a maritime lien in Prime Marina's favor.

27.          Prime Marina hereby seeks foreclosure of its maritime lien against the Vessel

and seeks reasonable court costs as well as attorneys' fees and interest (to the extent

permitted by law), and any and all other costs relating to this foreclosure action as

allowed for pursuant to the General Maritime Law.

       WHEREFORE, Plaintiff prays:

       (a)      That process in due form of law, according to the rules and laws of this

Court in causes of admiralty and maritime jurisdiction issue against the Vessel in rem,

and that all persons claiming any right, title, or interest then be cited to appear and

answer under oath the all and singular matters aforesaid;

       (b)      That all persons or entities having or claiming an interest therein be

required to appear and answer the aforesaid matters;




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       (c)    That Plaintiff be decreed to have a lien upon the Vessel, in rem and that

such lien be foreclosed in accordance with the law and thereupon that the Vessel be

condemned and sold in payment of the amount due and all such other sums as owed,

and that Plaintiff be permitted to credit bid the amount of its liens at the Vessel’s sale;

       (d)    That this Court further award Plaintiff the total amount due as alleged

herein, with interest and costs, and that Plaintiff be permitted to recover the same from

the Vessel, in rem, along with all of its attorneys' fees, costs and interest (as allowed by

applicable law); and

       (e)    That the Court provide such other, further or different relief as it deems

just and equitable under the circumstances.

                                // Signature Page Follows //




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Dated: March 3, 2021
       Newport, Rhode Island


                                      Respectfully submitted,

                                      Prime Marina East Greenwich Holdings,
                                      LLC d/b/a PRIME MARINA EAST
                                      GREENWICH

                                      By its attorneys,

                                      Fulweiler llc

                                      /s/ John K. Fulweiler
                                      ______________________
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